Case 8:23-cv-02333-SDM-AEP Document 24-1 Filed 02/09/24 Page 1 of 5 PageID 74




                                 EXHIBIT A
Case 8:23-cv-02333-SDM-AEP Document 24-1 Filed 02/09/24 Page 2 of 5 PageID 75
Case 8:23-cv-02333-SDM-AEP Document 24-1 Filed 02/09/24 Page 3 of 5 PageID 76
Case 8:23-cv-02333-SDM-AEP Document 24-1 Filed 02/09/24 Page 4 of 5 PageID 77
Case 8:23-cv-02333-SDM-AEP Document 24-1 Filed 02/09/24 Page 5 of 5 PageID 78
